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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 iSENTIUM, LLC,

                           Plaintiff,               Civil Action No. 1:17-cv-07601

             – against –

 BLOOMBERG FINANCE L.P.,                            CORPORATE DISCLOSURE STATEMENT
 BLOOMBERG L.P., and
 BLOOMBERG INC.,

                           Defendants.



       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned attorneys

for Plaintiff, iSentium, LLC, state that iSentium, LLC is a Delaware limited liability company

with its principal place of business located in Miami, Florida. Plaintiff iSentium, LLC has no

parent corporation.



Dated: New York, New York                    Respectfully submitted,
       October 4, 2017
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